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 9 Attorneys for Defendant
10 The Kroger Co.
11                       UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13
14                                WESTERN DIVISION
15
16
   MARY ANTOSSYAN, individually, and           Case No. 2:25-CV-5165
17 on behalf of others similarly situated,
18                                             DEFENDANT THE KROGER CO.’S
                          Plaintiff,           NOTICE OF REMOVAL
19
20         vs.                                 [From the Superior Court of California,
                                               County of Los Angeles, Case No.
21
     THE KROGER CO.,                           25STCV12963]
22
                          Defendant.           Compl. Filed:   May 2, 2025
23
                                               Action Removed: June 6, 2025
24
25
26
27
28
                                                                  DAVIS WRIGHT TREMAINE LLP
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     THE KROGER CO.’S NOTICE OF REMOVAL
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 1 TO THE CLERK AND TO PLAINTIFF AND HER ATTORNEYS:
 2         PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441,
 3 and 1446, Defendant The Kroger Co. (Kroger) hereby removes this action from the
 4 Superior Court of the State of California for the County of Los Angeles to the
 5 United States District Court for the Central District of California.
 6                                   State Court Action
 7         1.    On May 2, 2025, Plaintiff Mary Antossyan commenced this action in
 8 the Superior Court of the State of California, County of Los Angeles, captioned
 9 Mary Antossyan v. The Kroger Co., Case No. 25STCV12963 (the State Court
10 Action). A true and correct copy of the Complaint in the State Court Action is
11 attached hereto as Exhibit 1. Ms. Antossyan served the Complaint on Kroger on
12 May 9, 2025.
13         2.    Ms. Antossyan alleges that she purchased a one variety of Kroger’s
14 Simple Truth Fruit & Grain Bars (Cereal Bars) from a Ralphs store in Los Angeles
15 County, California. (Compl. ¶ 15.) She contends that the Cereal Bars are
16 misleadingly labeled because the labels advertise “no preservatives” despite the
17 Cereal Bars containing citric acid, which allegedly functions as a preservative in
18 some contexts. (Id. ¶¶ 9, 10.) Ms. Antossyan brings claims regarding “all
19 varieties” of the Cereal Bars and seeks to represent a putative nationwide class and
20 a California subclass. (Id. ¶¶ 9, 33, 34.)
21         3.    Ms. Anytossyan brings claims on behalf of the putative nationwide
22 class for violation of California’s False Advertising Law (FAL), Cal. Bus. & Prof.
23 Code § 17500, et seq., and Unfair Competition Law (UCL), Cal. Bus. & Prof. Code
24 §§ 17200 et seq. Ms. Antossyan seeks, inter alia, “full restitution of all funds” she
25 and putative class member paid Kroger for Cereal Bars from four years before her
26 Complaint was filed to the present; “[a]ll reasonable and necessary attorneys’ fees
27 and costs”; an “order requiring Defendant to engage in corrective advertising”; and
28
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 1 “an order requiring [Kroger] to immediately cease” its allegedly wrongful conduct.
 2 (Id. ¶¶ 57, 75, p. 12.)
 3         4.    All pleadings, processes, and orders served upon or received by Kroger
 4 in the State Court Action or found on the docket in that action are attached hereto.
 5               a.     The Class Action Complaint is attached hereto as Exhibit 1;
 6               b.     The Summons is attached hereto as Exhibit 2;
 7               c.     The Notice of Case Assignment, Unlimited Civil Case is
 8                      attached hereto as Exhibit 3;
 9               d.     The Civil Case Cover Sheet is attached hereto as Exhibit 4;
10               e.     The Alternative Dispute Resolution (ADR) Information
11                      Package is attached hereto as Exhibit 5;
12               f.     The Peremptory Challenge to Judicial Officer is attached
13                      hereto as Exhibit 6;
14               g.     The May 8, 2025 Minute Order is attached hereto as Exhibit 7;
15               h.     The May 8, 2025 Certificate of Mailing is attached hereto as
16                      Exhibit 8;
17               i.     The May 20, 2025 Minute Order is attached hereto as Exhibit
18                      9;
19               j.     The May 20, 2025 Certificate of Mailing is attached hereto as
20                      Exhibit 10;
21               k.     The Order re Complex Determination is attached hereto as
22                      Exhibit 11;
23               l.     The Initial Status Conference Order is attached hereto as
24                      Exhibit 12;
25               m.     The June 2, 2025 Certificate of Mailing is attached hereto as
26                      Exhibit 13;
27               n.     A copy of the docket in the State Court Action is attached hereto
28                      as Exhibit 14.
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 1         5.      The State Court Action is removable to this Court because the Court
 2 has original jurisdiction under 28 U.S.C. §§ 1332(a) & 1332(d)(2), and the Central
 3 District of California encompasses the location in which the State Court Action is
 4 currently pending (i.e., Los Angeles, California). See 28 U.S.C. § 1332(a); id.
 5 § 1332(d)(2)(A) (“The district courts shall have original jurisdiction of any civil
 6 action in which the matter in controversy exceeds the sum or value of $5,000,000,
 7 exclusive of interest and costs, and is a class action in which … any member of a
 8 class of plaintiffs is a citizen of a State different from any defendant[.]”); id.
 9 § 1441(a) (“[A]ny civil action brought in a State court of which the district courts of
10 the United States have original jurisdiction, may be removed by the defendant … to
11 the district court of the United States for the district and division embracing the
12 place where such action is pending.”); id. § 84(c)(2) (setting the County of Los
13 Angeles in the Central District – Western Division).
14              The Action Is Removable Under the Class Action Fairness Act
15         6.      This Court has original jurisdiction pursuant to the Class Action
16 Fairness Act of 2005 (CAFA). CAFA was enacted based on Congress’s concern
17 that “cases involving large sums of money, citizens of many different States, and
18 issues of national concern, have been restricted to State courts even though they
19 have national consequences.” 151 Cong. Rec. S1086-01, S1103 (Feb. 8, 2005).
20 CAFA’s purpose is to allow “[f]ederal court consideration of interstate cases of
21 national importance.” 28 U.S.C. § 1711, stat. note, subd. (b)(2).
22         7.      “[N]o antiremoval presumption attends cases invoking CAFA, which
23 Congress enacted to facilitate adjudication of certain class actions in federal court.”
24 Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014).
25         8.      CAFA extends federal jurisdiction over class actions where: (1) any
26 member of the proposed class is a citizen of a state different from any defendant
27 (i.e., minimal diversity exists); (2) there are at least 100 members in all proposed
28 plaintiff classes combined; (3) the amount in controversy exceeds $5 million; and
                                                                          DAVIS WRIGHT TREMAINE LLP
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 1 (4) no exception to jurisdiction applies. See 28 U.S.C. § 1332(d). As explained
 2 below, each of these requirements is satisfied in this case.
 3                     The Minimal Diversity Requirement Is Satisfied
 4         9.     A putative class action is removable based on diversity jurisdiction if
 5 “any member of a class of plaintiffs is a citizen of a State different from any
 6 defendant.” 28 U.S.C. § 1332(d)(2)(A).
 7         10.    Ms. Antossyan is a citizen and resident of California. (Compl. ¶ 5.)
 8 The putative class and sub-class Ms. Antossyan seeks to represent include (1) “All
 9 persons within the United States who purchased [Cereal Bars] within four years
10 prior to the filing of the Complaint through to the date of class certification” (id.
11 ¶ 33); and (2) “All persons within California who purchased [Cereal Bars] within
12 four years prior to the filing of the Complaint through to the date of class
13 certification” (id. ¶ 34).
14         11.    Kroger is an Ohio corporation with its headquarters and principal place
15 of business in Cincinnati, Ohio. (See id. ¶ 6.) A corporation is a citizen of every
16 state in which it is incorporated and of the state it has its principal place of business.
17 See 28 U.S.C. § 1332(c)(1). Therefore, Kroger is a citizen of Ohio for purposes of
18 determining diversity.
19         12.    Sufficient (and minimal) diversity of citizenship exists between the
20 relevant parties in this case.
21                    Plaintiff’s Proposed Class Exceeds 100 Members
22         13.    This action is a proposed “class action” under 28 U.S.C.
23 § 1332(d)(1)(B), which is defined as “any civil action filed under rule 23 of the
24 Federal Rules of Civil Procedure or similar State statute or rule of judicial
25 procedure authorizing an action to be brought by 1 or more representative persons
26 as a class action[.]”
27
28
                                                                          DAVIS WRIGHT TREMAINE LLP
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 1         14.   To remove a class action under CAFA, “the number of members of all
 2 proposed plaintiff classes in the aggregate” must be at least 100. 28 U.S.C.
 3 § 1332(d)(5)(B).
 4         15.   According to Ms. Antossyan, the putative class and subclass
 5 “include[s] thousands, if not millions of members.” (Compl. ¶ 36.)
 6         16.   The members of Ms. Antossyan’s proposed class and subclass exceed
 7 100 in number.
 8                    The Amount in Controversy Exceeds $5 Million
 9         17.   Where, as here, “the plaintiff’s complaint does not state the amount in
10 controversy, the defendant’s notice of removal may do so.” Dart Cherokee, 574
11 U.S. at 84. To establish the amount in controversy, a notice of removal “need not
12 contain evidentiary submissions.” Id. Rather, “a defendant’s notice of removal
13 need include only a plausible allegation that the amount in controversy exceeds the
14 jurisdictional threshold.” Id. at 89.
15         18.   For purposes of removal only, and without conceding that Ms.
16 Antossyan or the putative class or subclass are entitled to any damages, remedies, or
17 penalties whatsoever, the aggregated claims of the putative class, as pleaded in the
18 Complaint, exceed the jurisdictional amount of $5,000,000 exclusive of interest and
19 costs. See 28 U.S.C. § 1332(d)(2); see also Lewis v. Verizon Commc’ns, Inc., 627
20 F.3d 395, 397 (9th Cir. 2010) (removing defendant need only show “potential
21 damages could exceed the jurisdictional amount”); Woods v. CVS Pharm., Inc.,
22 2014 WL 360185, at *2 (C.D. Cal. Jan. 30, 2014) (“The ultimate inquiry is what
23 amount is put ‘in controversy’ by the plaintiff’s complaint, not what a defendant
24 will actually owe.”) (emphasis in original; alterations and quotations omitted).
25         19.   Ms. Antossyan alleges, in the alternative, that she and putative class
26 members “would not have purchased” Cereal Bars had they known they contain
27 citric acid (Compl. ¶ 22), and she seeks “full restitution of all funds acquired from
28 Plaintiff and Class and Sub-Class Members from the sale of misbranded [Cereal
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 1 Bars] during the relevant class period” (Compl. p. 12). During the alleged class
 2 period, total sales of Cereal Bars—sold nationwide at all stores in all states, for the
 3 over four years captured by the complaint—have exceeded $4,000,000. Without
 4 conceding that the alleged measure of damages would be the proper measure of
 5 relief for any of the claims, it is reasonably possible that aggregated restitution for
 6 the putative nationwide class would exceed $4,000,000 in liability based on the
 7 claims made in the Complaint.
 8         20.    In the Ninth Circuit, attorneys’ fees may be included in the amount in
 9 controversy. See, e.g., Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155 (9th Cir.
10 1998). “The Ninth Circuit has established a ‘benchmark’ of 25 percent for awards
11 of attorneys’ fees in common fund cases.” Van Vranken v. Atl. Richfield Co., 901
12 F. Supp. 294, 297 (9th Cir. 1995); Bellinghausen v. Tractor Supply Co., 306 F.R.D.
13 245, 260 (N.D. Cal. 2015) (same); Gutierrez v. Amplify Energy Corp., 2023 WL
14 3071198, at *3 (C.D. Cal. Apr. 24, 2023) (same). Thus, attorneys’ fees in the
15 amount of 25 percent of the possible common fund should be included in the
16 amount in controversy here. Because it is reasonably possible that the common
17 fund could exceed $4,000,000 in classwide restitution, attorneys’ fees would
18 amount to at least $1,000,000. This comports with numerous class action cases
19 involving California consumer protection statute causes of action (such as claims
20 under the UCL and FAL) and allegations of false or misleading sales practices,
21 where attorneys have sought in excess of $1,000,000 in attorneys’ fees. See, e.g.,
22 Hendricks v. Starkist Co., 2016 WL 5462423, at *10 (N.D. Cal. Sep. 29, 2016)
23 (UCL, CLRA, false advertising, and implied warranty consumer protection class
24 action; seeking approval of $4 million in fees); Brown v. Hain Celestial Grp., Inc.,
25 2016 WL 631880, at *7 (N.D. Cal. Feb. 17, 2016) (UCL and CLRA consumer
26 protection class action; seeking approval in excess of $3 million in fees); Retta v.
27 Millennium Prods., Inc., 2017 WL 5479637, at *11 (C.D. Cal. Aug. 22, 2017)
28 (same; seeking approval in excess of $2 million).
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 1          21.   The Complaint also seeks punitive damages. (Compl. at p. 12.) The
 2 Court may consider punitive damages, aggregated on a class-wide basis, when
 3 conducting the amount-in-controversy calculation. See Gibson v. Chrysler Corp,
 4 261 F.3d 927, 945 (9th Cir. 2001) (“It is well established that punitive damages are
 5 part of the amount in controversy). Any such punitive damages would be
 6 substantial and further confirm that the amount-in-controversy is exceeded.
 7          22.   Injunctive relief also makes the case exceed the amount-in-
 8 controversy. “When the plaintiff seeks injunctive relief, the cost of complying with
 9 the injunction is included in the amount in controversy.” Martinez v. Johnson &
10 Johnson Cons., Inc., 471 F. Supp. 3d 1003, 1007 (C.D. Cal. 2020) (citing Chavez v.
11 JPMorgan Chase & Co., 888 F.3d 413, 416 (9th Cir. 2018)). If injunctive relief
12 were granted, it would involve changing the labels and marketing of the Cereal Bars
13 nationwide. (See Compl. ¶¶ 57, 75.) Moreover, Ms. Antossyan seeks and “order
14 requiring [Kroger] to engage in corrective advertising.” (Id. p. 12.) The cost of any
15 such proposed injunction (e.g., corrective advertising, revisions to labels and
16 marketing, additional disclosures, and impacts resulting from the changes in
17 marketing and labels) would be substantial and further indicates the amount-in-
18 controversy is exceeded.
19          23.   In sum, based on the remedies Ms. Antossyan seeks, the amount in
20 controversy exceeds $5,000,000.
21                        Exceptions to Jurisdiction Do Not Apply
22          24.   The complete diversity between Ms. Antossyan and Kroger not only
23 satisfies the minimal diversity requirements under CAFA, but also precludes the
24 “local controversy” and “home state” exceptions in 28 U.S.C. § 1332(d)(3) &
25 (d)(4), exemptions for which Ms. Antossyan would bear the burden of proof in any
26 event.
27
28
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 1       This Action Is Also Removable Based on Diversity, 28 U.S.C. § 1332(a)
 2         25.    For the same reasons stated above, the Court has original jurisdiction
 3 of this action because Ms. Antossyan’s claims alone exceed the $75,000 threshold
 4 for individual actions. See 28 U.S.C. § 1332(a).
 5         26.    As explained above, Ms. Antossyan and Kroger are citizens of
 6 different states.
 7         27.    Ms. Antossyan’s individual claims also exceed $75,000 based on her
 8 individual requests for monetary restitution, injunctive relief, and attorneys’ fees.
 9 For instance, Ms. Antossyan seeks an “order requiring Defendant to engage in
10 corrective advertising” and “an order requiring [Kroger] to immediately cease” its
11 allegedly wrongful conduct. (Compl. ¶¶ 57, 75, p. 12.) The cost to Kroger to
12 change the labels of its existing stock of Cereal Bars nationwide and of new
13 products to be sold, along with the costs of a reasonable corrective advertising
14 campaign, would exceed $75,000.
15                Kroger Satisfies the Requirements of 28 U.S.C. § 1446
16         28.    This Notice of Removal is signed pursuant to Rule 11 of the Federal
17 Rules of Civil Procedure. See 28 U.S.C. § 1446(a).
18         29.    This Notice of Removal has been filed within 30 days of May 9, 2025,
19 the date Ms. Antossyan served the Complaint on Kroger. See 28 U.S.C.
20 § 1446(b)(2)(B).
21         30.    Concurrently with the filing of this Notice, Kroger is giving written
22 notice to all adverse parties of the filing of this Notice. Additionally, a copy of the
23 Notice of Removal is being filed with the Clerk of the Superior Court of the State of
24 California, County of Los Angeles. See 28 U.S.C. § 1446(d).
25         31.    The removal of this action terminates all proceedings in the Superior
26 Court of the State of California, County of Los Angeles. Id.
27
28
                                                                         DAVIS WRIGHT TREMAINE LLP
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 1         32.   Nothing in this Notice of Removal shall be interpreted as a waiver or
 2 relinquishment of Kroger’s right to assert any defenses or objections, including but
 3 not limited to those pursuant to Rule 12 of the Federal Rules of Civil Procedure.
 4         WHEREFORE, the above-entitled action is removed from the Superior Court
 5 of the State of California, County of Los Angeles to the United States District Court
 6 for the Central District of California.
 7
 8 DATED: June 6, 2025                       DAVIS WRIGHT TREMAINE LLP
 9                                           By: /s/ Jacob M. Harper
10                                             Jacob M. Harper
                                               Heather F. Canner
11                                             Daniel H. Leigh
12
                                             Attorneys for Defendant
13                                           The Kroger Co.

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     THE KROGER CO.’S NOTICE OF REMOVAL
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 1                         PROOF OF SERVICE BY U.S. MAIL
 2       I am employed in the Los Angeles County, California. I am over the age of 18
 3 and not a party to the within action. My business address is Davis Wright Tremaine
   LLP, 350 South Grand Avenue, 27th Floor, Los Angeles, California 90071.
 4
         On June 6, 2025, I served the foregoing documents as follows:
 5
 6         DEFENDANT THE KROGER CO.’S NOTICE OF REMOVAL
 7 by placing a true copy of said document enclosed in a sealed envelope for each
   addressee named below, with the name and address of the person served shown on
 8
   the envelope as follows:
 9
                       Todd M. Friedman (SBN 216752)
10                     Adrian R. Bacon (SBN 280332)
11                     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
                       21031 Ventura Blvd Suite 340
12                     Woodland Hills, CA 91364
13
14          I placed such envelope(s) with postage thereon fully prepaid for deposit in the
15   United States Mail in accordance with the office practice of Davis Wright Tremaine
     LLP, for collecting and processing correspondence for mailing with the United States
16   Postal Service. I am familiar with the office practice of Davis Wright Tremaine LLP,
17   for collecting and processing correspondence for mailing with the United States
     Postal Service, which practice is that when correspondence is deposited with the
18   Davis Wright Tremaine LLP, personnel responsible for delivering correspondence to
19   the United States Postal Service, such correspondence is delivered to the United
     States Postal Service that same day in the ordinary course of business.
20
21      I declare under penalty of perjury under the laws of the United States of
   America that the foregoing is true and correct and that I am employed in the office of
22 a member of the bar of this Court at whose direction the service was made.
23
24         Executed on June 6, 2025, at Los Angeles, California.

25
26                   Lina Pearmain
                       Print Name                                  Signature
27
28
                                                                        DAVIS WRIGHT TREMAINE LLP
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